                     UNITED
Case 5:16-cv-00620-JGB-KK    STATES
                          Document    DISTRICT
                                   200-1          COURT
                                         Filed 07/20/18 Page 1 of 22 Page ID
                    CENTRAL DISTRICT
                                  #:3912 OF  CALIFORNIA
 
 




XOCHITL HERNANDEZ and                  ) Civil Action No. 5:16-cv-00620-JGB-KKx
CESAR MATIAS, for themselves           )
and on behalf of a class of            )
similarly-situated individuals,        )      Declaration of Jean King
                                       )
Plaintiffs-Petitioners,                )
                                       )
v.                                     )
                                       )
JEFFERSON B. SESSIONS III,             )      Hon. Rosalyn M. Chapman
U.S. Attorney, et al.,                 )
                                       )
Defendants-Respondents.                )




I, Jean King, declare as follows:

      1. I serve as the General Counsel of the Executive Office for Immigration

         Review (EOIR). In this capacity, I manage the Office of General Counsel

         (OGC) and provide legal counsel on matters pertaining to the Immigration

         and Nationality Act and other laws and procedures as they relate to EOIR,

         among other duties. I have served in this position since 2015.

      2. I have prepared this declaration to explain in detail, on a month-to-month

         timeline, the steps that EOIR has taken to comply with the U.S. District

         Court (C.D. Cal.) Order Granting Plaintiffs’ Motion to Compel and


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Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 2 of 22 Page ID
                                  #:3913
 
 

                    Vacating the December 7, 2017 Hearing (“Order”) (Dkt. No. 129)

                    requiring Defendants to respond to Interrogatories and Requests for

                    Production of Documents from Plaintiffs.1

                  November 2017 – Proactive EOIR Request for eDiscovery Data

            3. On November 28, 2017, before the Order was issued, EOIR OGC

                    proactively identified approximately 123 individuals having possibly

                    responsive electronic files and emails to Plaintiffs’ First Set of Requests

                    For Production of Documents to Defendant Department of Justice

                    (“Plaintiffs’ First Set of RFPs”) (“custodians”) for the time period

                    beginning January 1, 2012 to the date of collection, and forwarded this

                    eDiscovery request to EOIR’s Office of Information Technology (“OIT”).

                    EOIR OIT then contacted the Department of Justice’s Justice

                    Management Division (JMD) to coordinate retrieval of a copy of those

                    employees’ files and emails, from the Justice Consolidated Office

                    Network (JCON) Servers where they are maintained. The JCON Servers

                    are currently located in Rockville, Maryland and Pocatello, Idaho.

                               December 2017 – Upload Issues to EOIR’s Clearwell

            4. By December 12, 2018, after having electronically received the

                    custodians’ emails and files from JMD, EOIR OIT began attempting to

                    load the data onto its local server, which would then provide EOIR OGC

                                                            
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    The Order’s requirement that Defendants respond within 14 days was subsequently extended.

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Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 3 of 22 Page ID
                                  #:3914
 
 

        with access to the data through the Veritas eDiscovery platform,

        “Clearwell.” Clearwell would then allow EOIR OGC to filter and run

        appropriate queries on that data for responsive information to the

        discovery requests.

     5. There were unforeseen complications in this process because Clearwell is

        a new eDiscovery program for EOIR, having been introduced to the

        agency in the Spring of 2017. Prior to this litigation, EOIR had not

        engaged in discovery requiring the production of electronically-stored

        documents on this scale or in conformance with the eDiscovery

        production specifications applicable in this case. Moreover, EOIR did not

        have technicians with experience manipulating Clearwell or managing this

        scope or type of discovery.

     6. On December 12, 2017, attempted upload of files to Clearwell was

        unsuccessful. EOIR OGC then contacted Veritas for technical support

        assistance.

     7. On December 15, 2017, after having reviewed EOIR’s Clearwell error and

        service logs, Veritas advised EOIR OIT to scan and repair the original file

        and re-upload it to Clearwell. The files had corrupted when they were

        uploaded to Clearwell and the scan and repair process clears up the

        corruption issues before they are re-uploaded. This scan, repair, and

        upload process took several days.


                                        3
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 4 of 22 Page ID
                                  #:3915
 
 

     8. On December 28 and 29, 2017, EOIR OGC worked with EOIR OIT to

        begin upload to Clearwell of the data for a more limited set of

        custodians .                                                 The custodians

        who were originally identified, but were not included in this limited set

        are individuals whose areas of responsibility are outside the Central

        District of California and law clerks. These custodians were not included

        in the limited set because their documents would be duplicative of those

        possessed by the     custodians and/or outside the scope of the litigation.


January 2018 – Upload Issues to Clearwell and ROP Collection Complications


     9. While the process of uploading custodian files and determining effective

        search terminology continued, EOIR also commenced work on collecting

        Records of Proceeding (“ROP”) for production in response to the

        Plaintiffs’ First Set of RFPs.  The ROP is the official file created by the

        Immigration Court that contains the documents relating to an alien’s case.

        A ROP may consist of one folder or a number of folders. The contents of

        the ROP vary from case to case. However, at the conclusion of

        Immigration Court proceedings, the ROP generally contains the Notice to

        Appear (Form I-862), hearing notice(s), the attorney’s Notice of

        Appearance (Form EOIR-28), the Alien’s Change of Address Form(s)

        (Form EOIR-33/IC), application(s) for relief, exhibits, motion(s), brief(s),


                                         4
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 5 of 22 Page ID
                                  #:3916
 
 

        hearing tape(s) or digital audio recording(s) (DAR)(if any), and all written

        orders and decisions of the Immigration Judge.

     10. On January 5, 2018, Plaintiffs provided Defendants with a list of 200

        Alien Numbers for which Defendants had agreed to provide the ROPs.

        EOIR OGC began identifying the locations of all the folders that make up

        the ROP for each alien number, which took additional time because one

        alien number may be associated with a number of folders that are located

        at different immigration courts, the Board of Immigration Appeals, as well

        as one of the Federal Records Centers (“FRC”), where certain files

        associated with an ROP are warehoused when not in use. The FRCs are

        located outside the state of Virginia, where EOIR OGC is located. The

        majority of the warehoused ROPs were located, for example, at the FRC

        in Perris, California.

     11. The ROP collection process was complex due to the number of files

        associated with each ROP, their different locations, and issues discovered

        concerning their completeness as described in paragraph 20. To ensure

        accuracy in this ROP collection, given the many moving parts involved,

        EOIR OGC created a spreadsheet to monitor and record the process. This

        spreadsheet is attached here. The ROPs were collected by alien number

        and organized in the spreadsheet by production date.




                                         5
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 6 of 22 Page ID
                                  #:3917
 
 

     12. On January 10, 2018, EOIR OGC began to request these ROPs from the

        immigration courts, Board of Immigration Appeals, and/or the FRC.

        Once these ROPs arrived at EOIR OGC, because they are in paper

        hardcopy, they were sent out again to be scanned by an offsite contractor

        and the contents burned onto a CD. Moreover, sometimes a ROP

        contained an audio cassette, which contained the recording of a bond

        hearing. In order to produce these cassette recordings electronically, the

        cassettes were sent to another outside contractor through the Board of

        Immigration Appeals for copying to CD. The turnaround time for each

        cassette is 20 days. If the bond hearings were recorded by DAR, EOIR

        OGC downloaded each DAR from EOIR’s database and saved it to

        EOIR’s server before it was uploaded to the Justice Enterprise File

        Sharing (“JEFS”) service, a file transfer service utilized by DOJ, to

        transmit the files to litigation counsel, the Office of Immigration

        Litigation – District Court Section (“OIL-DCS”) for further review and

        production. If the case had been appealed to the Board of Immigration

        Appeals, the transcript of the hearings was available on EOIR’s database.

        This transcript was then also downloaded and saved to EOIR’s server

        before it was uploaded to JEFS for further review and production.

     13. Depending on the size of each ROP, it took up to 2 weeks to receive the

        ROP and CD back from the contractor. Upon receiving the CD, EOIR


                                         6
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 7 of 22 Page ID
                                  #:3918
 
 

        OGC uploaded the contents to the EOIR server, where it was saved before

        it was uploaded to JEFS. The last ROP scanned by the contractor was

        received back on February 14, 2018, with the associated CD.

     14. By January 12, 2018, EOIR OIT had uploaded the first batch of custodian

        emails and other electronic files to Clearwell. However, this upload was

        incomplete in that it was missing the data associated with approximately 7

        custodians. EOIR OGC began working with EOIR OIT to finish

        uploading the data associated with the remaining custodians.

     15. On January 12, 2018, EOIR OGC distributed questionnaires to 6 of its

        custodians to help determine the most effective search terminology to

        return documents responsive to Plaintiffs’ First Set of RFPs. These

        custodians were identified by EOIR as those who were believed to

        possibly have records responsive to Plaintiff’s First Set of RFPs.

     16. On January 17, 2018, EOIR OGC requested from the FOIA division of

        EOIR any documents that they might have already been provided to the

        public on issues related to the Plaintiffs’ First Set of RFPs.

     17. By January 18, 2018, EOIR OGC received back the questionnaires from

        the custodians along with documents or emails these custodians identified

        as responsive to Plaintiffs’ First Set of RFPs.

     18. On or about January 18, 2018, EOIR OGC applied search terminology to

        the custodian files uploaded into Clearwell that was informed by the


                                          7
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 8 of 22 Page ID
                                  #:3919
 
 

        questionnaires and was broad enough to catch all communications and

        documents responsive to Plaintiffs’ First Set of RFPs.

     19. On January 23, 2018, EOIR OGC requested from EOIR’s Office of Policy

        all EOIR trainings that relate to Plaintiffs’ First Set of RFPs.

     20. On or about January 24, 2018, EOIR OGC discovered its error in

        instructing the contractors scanning the ROPs to only scan the right hand

        sides of the files. After having reviewed the ROPs, EOIR OGC

        discovered that the left hand sides also contained bond related information

        that was relevant to the Plaintiffs’ First Set of RFPs. Therefore, EOIR

        OGC began reviewing all of the already received scanned ROPs for

        completeness. Having so reviewed, EOIR OGC began to re-request the

        files to scan the left hand sides in-house at EOIR. This process added

        additional time to the collection of the ROPs.

     21. On January 24, 2018, EOIR OGC received documents from the FOIA

        division of EOIR that had been provided in response to requests on issues

        related to the Plaintiffs’ First Set of RFPs.

     22. On January 30, 2018, Clearwell continued to exhibit errors when

        displaying the custodians’ emails and files, which prevented the text of the

        records from showing. EOIR OGC contacted EOIR OIT for technical

        assistance, who then consulted with Veritas.




                                          8
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 9 of 22 Page ID
                                  #:3920
 
 

     February 2018 – Upload Issues to Clearwell and Relativity and ROP

                              Collection/Production

     23. On February 1, 2018, EOIR OGC attempted again to import the

        remaining custodians’ Outlook email files into Clearwell but the import

        failed.

     24. On February 3, 2018, EOIR OIT completed a scan and repair of the

        remaining custodian’s files.

     25. On February 4, 2018, EOIR OGC successfully imported the remaining

        custodian’s files into Clearwell.

     26. On February 8, 2018, EOIR OGC attempted and failed to send three

        exports of files from Clearwell (after the application of search terms) to

        litigation counsel to be placed on OIL-DCS’s eDiscovery platform,

        Relativity, for review.

     27. There were unforeseen complications in the export process because

        Veritas is a new eDiscovery program for EOIR, and the export/import of

        the data required extensive testing between EOIR and OIL-DCS’s review

        platforms.

     28. Between February 8, 2018 and February 12, 2018, EOIR OGC transferred

        several test versions of data to OIL-DCS through the usage of JEFS to

        ensure that OIL-DCS’s e-Discovery platform could properly import the

        data included in the EOIR production export.


                                            9
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 10 of 22 Page ID
                                   #:3921
 
 

     29. On February 13, 2018, Clearwell had server issues which required it to be

        restarted and a new patch sent from Veritas technical support.

     30. On February 14, 2018, EOIR OGC received from EOIR’s Office of Policy

        all EOIR trainings that relate to Plaintiffs’ First Set of RFPs.

     31. On February 16, 2018, after testing several test versions of EOIR data,

        OIL-DCS confirmed that one of the three Clearwell exports, which

        contained just over 3,000 reviewable items (a fraction of the total number

        of items in the three exports) had been properly imported by OIL-DCS

        and assigned to three EOIR OGC attorneys and one contractor for review

        of the individual search results.

     32. On February 19, 2018, EOIR OIT notified EOIR OGC that the imports

        had surpassed the processing capacity of Clearwell. EOIR then had to

        request, and ultimately received, temporary licensing to increase the

        capacity of Clearwell.

     33. On February 20, 2018, EOIR OGC requested and received technical

        support from Veritas regarding the hash value metadata field and whether

        all document families (all the attachments associated with each

        document), were included in each export.

     34. On February 22, 2018, EOIR OGC re-attempted to send the remaining

        two exports to OIL-DCS’s Relativity platform.




                                            10
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 11 of 22 Page ID
                                   #:3922
 
 

    March 2018 – Upload Issues to Relativity and ROP Collection/Production

      35. Throughout the month of March, EOIR OGC continued the collection

         and review of missing files for each ROPs. Three attorneys, one

         contractor, and one paralegal were assigned to these tasks.

      36. On March 1, 2018 – OIL-DCS informed EOIR OG that its re-attempt to

         send the remaining two exports was unsuccessful. EOIR OGC and OIL-

         DCS conferred on possible solutions.

      37. On March 6, 2018 – EOIR again requested and received an additional

         temporary license (because the previous one expired) to expand the

         capacity of Clearwell to support the high volume of files being imported

         into Clearwell and processed.

      38. On March 8, 2018, Plaintiffs sent Defendants a letter requesting additional

         information about Defendants’ custodians, search term “hit” reports, and

         backup tapes.

      39. On March 9, 2018, EOIR OGC exported overlays with additional

         metadata elements required for OIL-DCS to complete the import of

         remaining files into Relativity.

      40. On March 12, 2018, EOIR OGC re-attempted the two remaining exports

         (with changes to metadata being transferred to OIL-DCS).

      41. On March 26 and 27, 2018, EOIR OGC ran random sample reports on

         Clearwell using the additional search terms that Plaintiffs had


                                            11
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 12 of 22 Page ID
                                   #:3923
 
 

        recommended to prepare for a meet and confer following Plaintiff’s

        March 8, 2018 letter (see par. 38).

     42. On March 30, 2018, EOIR OGC, through litigation counsel, produced 185

        files constituting ROPs to Plaintiffs.

                      April 2018 – Upload Issues to Relativity and ROP

                                   Collection/Production

     43. Throughout the month of April, EOIR OGC continued collection of

        missing files for each ROP, oversaw the transfer of the files to OIL-DCS

        for uploading to Relativity, and reviewed the files for privilege prior to

        production by OIL-DCS to Plaintiffs. Three attorneys, one contractor,

        and one paralegal were assigned to these tasks.

     44. On April 9, 2018, the temporary license expired for the additional

        electronic storage space needed. EOIR had not yet finalized its

        procurement of permanent additional space. In order to maintain the

        capacity to continue working on discovery in Hernandez, EOIR OGC

        immediately archived old or inactive files associated with other litigation

        as well as active files that did not have immediate production deadlines

        associated with other litigation.

     45. On April 30, 2018, EOIR OGC produced 223 files constituting ROPs to

        Plaintiffs.




                                            12
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 13 of 22 Page ID
                                   #:3924
 
 

    May 2018 – Upload Issues to Relativity and ROP Collection/Production

     46. Throughout the month of May, EOIR OGC continued collection of

        missing files for each ROP, transfer to OIL-DCS for upload into its

        Relativity system, and review of these files before production to Plaintiffs.

        Three attorneys, one contractor, and one paralegal were assigned to these

        tasks.

     47. On May 3, 2018, EOIR OGC met with OIL-DCS attorneys and

        technicians with the DOJ Civil Division’s Office of Litigation Support to

        discuss modifying export parameters so that import into Relativity would

        provide OIL-DCS with the ability to review, the length of time required to

        process files, the size limitations involved, and capacity and appliance

        issues.

     48. On May 30, 2018, EOIR OGC produced 223 files constituting ROPs to

        Plaintiffs.

                  June 2018 – Upload Issues to Relativity Continue

     49. On June 7, 2018, EOIR OGC contacted Veritas technical support to

        discuss all the challenges encountered with export from Clearwell and

        import into Relativity. OIL-DCS reported that the data received from

        EOIR was not always viable.

     50. On June 14, 2018, EOIR OGC and e-Discovery technicians with the DOJ

        Civil Division’s Office of Litigation Support discussed next steps


                                         13
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 14 of 22 Page ID
                                   #:3925
 
 

        regarding the hard drive transfer problems that both platforms were

        encountering. EOIR OGC then contacted the Clearwell technicians and

        received technical support.

     51. On June 15, 2018, EOIR OGC completed first-line review for relevance

        and privilege of the three thousand documents that had been successfully

        exported to and loaded onto Relativity.

                          July 2018 – Forward Planning

     52. Since the Special Master issued her order on July 10, 2018, EOIR OGC

        has been working closely with litigation counsel to complete the data

        transfer between Clearwell and Relativity. EOIR OGC has assigned a

        new eDiscovery specialist to the task in order to more efficiently address

        data transfer issues between Clearwell and the newly-dedicated specialist

        has had success in resolving prior data transfer problems.

     53. It is my understanding that the total data transfer to Relativity consists of

        approximately 30,000 items that need to be reviewed by OGC attorneys,

        identified for responsiveness, and redacted for any privilege or applicable

        protection in accordance with both federal law and the protective order.

     54. EOIR estimates an employee can review approximately 30 items in an

        hour for responsiveness and privilege, including marking for privilege or

        other appropriate redactions. Accordingly, it will take approximately

        1,000 employee hours to complete the data review of all 30,000 items.


                                          14
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 15 of 22 Page ID
                                   #:3926
 
 

     55. I estimate that on account of other ongoing agency demands of the

        General Counsel’s Office (OGC), including competing litigation demands

        in the approximately 15 active class action cases with ongoing discovery,

        depositions, and responsive filing deadlines, only approximately 6 OGC

        employees are available part-time to perform the extensive review and

        technical work I have described in this affidavit. As noted, OGC has

        added an eDiscovery specialist. OGC only has one office in Falls Church,

        Virginia, with a current staff size of 38 federal employee attorneys and

        support staff. OGC supports litigation, policy, regulations, the fraud

        program, the attorney discipline program, FOIA, employee-labor

        relations, ethics, records management and privacy for the agency. As

        such, 6 employees represents fifteen percent of our office staff to work on

        discovery in this single litigation.

     56. Therefore, given the steps necessary for EOIR to complete export to OIL

        of EOIR’s search results, the large amount of data (approximately 30,000

        reviewable items) identified for review, and the subsequent amount of

        time needed to review the 30,000 items for responsiveness and privilege,

        EOIR estimates that it will require up to 5 months to complete its

        production in response to Plaintiffs’ First Set of RFPs.

     57. If the relevant time frame is narrowed to January 1, 2016 to January 31,

        2018 (or the collection dates referenced in the Rule 26(f) report to be field


                                          15
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 16 of 22 Page ID
                                   #:3927
 
 

        by the parties), we approximate the volume of data to be reviewed will be

        significantly reduced. Reducing the number of custodians would further

        reduce the time needed to complete production.

     58. As mentioned in the previous paragraph, EOIR is amenable to prioritizing

        document review by custodian. EOIR has reviewed the list of custodians

        and makes the following proposal with respect to the order of review.

        First, EOIR will review the records for the Assistant Chief Immigration

        Judges (ACIJs) Rodin Rooyani and Scott Laurent, as they are the ACIJs

        for the Immigration Courts in the Central District of California. EOIR

        believes that review of the other ACIJs who do not have any courts within

        the Central District of California should not be prioritized, as those ACIJs

        are likely to only have duplicative documents if they have any responsive

        documents at all. Second, EOIR proposes to review the records for

        Deputy Chief Immigration Judge (DCIJ) Print Maggard, as DCIJ Maggard

        oversees ACIJs Rooyani and Laurent. EOIR believes that DCIJ Mary

        Cheng’s documents are likely to be duplicative if she has any responsive

        documents at all, as she is not responsible for any oversight over the

        ACIJs, Immigration Judges or Immigration Courts in the Central District

        of California. Third, EOIR proposes to review the records for Stephen

        Griswold, former ACIJ for Publications and Policy, Jack Weil, former

        ACIJ for Training, and Abigail Price, former ACIJ for Vulnerable


                                        16
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 17 of 22 Page ID
                                   #:3928
 
 

                    Populations, as they are likely to have documents that are directly

                    responsive to Plaintiff’s discovery requests and may have documents that

                    are not duplicative of the other custodians. Fourth, EOIR proposes to

                    review the records for the Chief Immigration Judge Marybeth Keller, who

                    oversees all of the above-named individuals and is responsible for

                    authorizing the issuance of policies and publications for the Office of the

                    Chief Immigration Judge. EOIR believes that the headquarters DCIJs

                    Michael McGoings, Ed Kelly, Christopher Santoro are likely to be

                    duplicative of Chief Judge Keller and DCIJ Maggard’s document if they

                    have any responsive documents at all, as these individuals would

                    disseminate any policies, procedures or practices approved by the Chief

                    Judge through the field DCIJs to disseminate to the local ACIJs. Former

                    ACIJ Thomas Fong retired on January 3, 2016, and as such would not

                    have any documents to review from 2016 to the present. Chief Judge

                    Brian O’Leary joined the Board of Immigration Appeals in a non-

                    managerial position on July 25, 2015, and would not have any documents

                    to review from 2016 to the present.

            59. Ben McDowell, a program analyst for EOIR’s Planning, Statistics, and

                    Analysis Division,2 is not and has never been included in EOIR’s list of

                    custodians. Mr. McDowell was identified in Defendants’ initial

                                                            
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    This division has been recently renamed and is currently called “Planning, Analysis, and Statistics Division.”

                                                               17
 
Case 5:16-cv-00620-JGB-KK Document 200-1 Filed 07/20/18 Page 18 of 22 Page ID
                                   #:3929
                                           Case 5:16-cv-00620-JGB-KK          Document 200-1 Filed 07/20/18 Page 19 of 22 Page ID
                                                            Production #1 February 2018: Exhibit to Declaration of Jean King, July 20, 2018
                                                                                             #:3930

             A                  B                         C                       D          E              F                   G                      H                I

                                      # of Bond Hearing DARS  or                                                                                 Returned 
                        Location of   Bond Hearing Transcripts                      ROPs      ROPs                 Sent out to Offsite           from Offsite  Uploaded to 
1 Alien Number          ROP Contents  Hearing Transcripts                    Tapes? Requested Received             Contractor for Duplication    Contractor    EOIR's Server 

     XXXXXXXXX
2                       LOS                               2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23, 1/31
3    XXXXXXXXX          LOS                               4                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23, 2/7
4    XXXXXXXXX          LOS                               3                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/24, 2/7, 2/13
5    XXXXXXXXX          LOS                               2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23
6    XXXXXXXXX          LOS                               4                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/24
7    XXXXXXXXX          LOS                               8                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23, 2/7
8    XXXXXXXXX          LOS                               1                  NO          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22
9    XXXXXXXXX          LOS                               4                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23
10   XXXXXXXXX          ADL                               1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/24
11   XXXXXXXXX          LAD                               1                  No          1/10/2018    1/11/2018                      1/11/2018      1/18/2018   1/16, 1/19, 2/1
12   XXXXXXXXX          LOS                               2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/19, 1/24, 2/13
13   XXXXXXXXX          LOS                               0                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/26, 2/7
14   XXXXXXXXX          LOS                               1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23, 2/7
15   XXXXXXXXX          LOS                               1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23, 2/7
16   XXXXXXXXX          LOS                               3                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/24
17   XXXXXXXXX          ADL                               0                  No          1/10/2018    1/23/2018                      1/24/2018      1/31/2018   2/15
18   XXXXXXXXX          LOS/ADL                           5                  No                n/a          n/a                      1/12/2018      1/22/2018   1/19, 1/23, 2/13
19   XXXXXXXXX          LOS                               1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23, 2/7
20   XXXXXXXXX          LOS                               2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/24, 2/7
21   XXXXXXXXX          LOS/LAD                           4                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23, 2/8
22   XXXXXXXXX          LAD                               2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/18, 1/23
23   XXXXXXXXX          LOS                               1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/19, 1/23, 2/7
24   XXXXXXXXX          ADL/LOS                           1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/24, 2/7
25   XXXXXXXXX          LOS/ADL                           4                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23
26   XXXXXXXXX          LOS/ADL                           1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23, 2/7
27   XXXXXXXXX          LOS/ADL                           3                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/19, 1/23, 2/7
28   XXXXXXXXX          LOS/ADL                           2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/24
29   XXXXXXXXX          ADL                               3                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/19, 1/23
30   XXXXXXXXX          HOU/ADL                           3                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/18, 1/24, 2/13
31   XXXXXXXXX          SFR/ADL                           2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/18, 1/24, 2/13
32   XXXXXXXXX          LAD                               1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23
33   XXXXXXXXX          LAD                               1                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/22, 1/23
34   XXXXXXXXX          ADL                               2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/24, 2/22
35   XXXXXXXXX          SFR/ADL                           2                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/18, 1/23
36   XXXXXXXXX          ADL                               3                  No          1/10/2018    1/11/2018                      1/12/2018      1/22/2018   1/18, 1/23, 2/16
37                      Total                             80
38   Note: Where a cell is marked with n/a, this signifies that a record of the date of the action was not kept.
                 Case 5:16-cv-00620-JGB-KK         Document 200-1 Filed 07/20/18 Page 20 of 22 Page ID
                                     Production #2 March 2018: Exhibit to Declaration of Jean King, July 20, 2018
                                                                    #:3931

             A                  B                         C                      D           E             F        G               H              I

                                    # of Bond Hearing DARS  or                                           Sent out to Offsite  Returned 
                       Location of  Bond Hearing Transcripts                        ROPs       ROPs      Contractor for       from Offsite  Uploaded to 
1 Alien Number         ROP Contents Hearing Transcripts                      Tapes? Requested Received Duplication            Contractor EOIR's Server 
 2   XXXXXXXXX         ADL                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/6
 3   XXXXXXXXX         LAD                       5                           No      1/10/2018 1/25/2018          1/25/2018       2/1/2018 3/8
 4   XXXXXXXXX         ADL                       5                           No      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/24, 3/27, 5/22
 5   XXXXXXXXX         LAD                       3                           No      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/8
 6   XXXXXXXXX         ADL                       2                           NO      1/10/2018 1/23/2018          1/23/2018      1/30/2018 2/15
 7   XXXXXXXXX         LAD                       3                           No      1/10/2018 1/23/2018          1/23/2018      1/31/2018 2/20
 8   XXXXXXXXX         LAD                       2                           No      1/10/2018 1/23/2018          1/23/2018      1/23/2018 2/16
 9   XXXXXXXXX         ADL                       2                           No      1/10/2018 1/23/2018          1/23/2018       2/1/2018 3/6
10   XXXXXXXXX         ADL/LOS                   2                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/23
11   XXXXXXXXX         LAD                       4                           No      1/10/2018 1/23/2018          1/23/2018      1/30/2018 3/23
12   XXXXXXXXX         ADL                       5                           No      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/15
13   XXXXXXXXX         LOS                       1                           No      1/10/2018 2/5/2018             2/7/2018     2/14/2018 3/15
14   XXXXXXXXX         ADL                       2                           No      1/10/2018 1/11/2018          1/12/2018      1/22/2018 3/15
15   XXXXXXXXX         ADL                       6                           No      1/10/2018 1/23/2018          1/24/2018      1/25/2018 3/16
16   XXXXXXXXX         LOS                       1                           No      1/10/2018 1/11/2018          1/12/2018      1/22/2018 1/31, 3/27
17   XXXXXXXXX         LAD                       3                           No      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/16
18   XXXXXXXXX         LAD                       4                           no      1/10/2018 1/23/2018          1/24/2018       2/1/2018 3/16
19   XXXXXXXXX         LAD                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/16
20   XXXXXXXXX         ADL                       3                           No      1/10/2018 1/23/2018          1/24/2018      1/30/2018 3/15
21   XXXXXXXXX         LAD                       2                           No      1/10/2018 1/23/2018          1/23/2018      1/30/2018 3/6
22   XXXXXXXXX         ADL                       1                           No      1/10/2018 1/23/2018          1/23/2018      1/30/2018 3/15
23   XXXXXXXXX         ADL                       2                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/15
24   XXXXXXXXX         ADL                       7                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/15
25   XXXXXXXXX         ADL                       3                           No       01/10/18 1/16/2018          1/16/2018      1/24/2018 3/14
26   XXXXXXXXX         adl                       1                           No      1/10/2018 1/23/2018          1/24/2018      1/31/2018 3/15
27   XXXXXXXXX         ADL                       3                           No       01/10/18 1/16/2018          1/16/2018      1/24/2018 3/15
28   XXXXXXXXX         adl                       1                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/15
29   XXXXXXXXX         ADL                       1                           no      1/10/2018 1/11/2018          1/12/2018      1/22/2018 1/17, 1/23
30   XXXXXXXXX         ADL                       1                           no      1/10/2018 1/23/2018          1/24/2018      1/31/2018 3/15
31   XXXXXXXXX         ADL                       1                           No       01/10/18 1/16/2018          1/16/2018      1/24/2018 3/14
32   XXXXXXXXX         LAD                       1                           no      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/14
33   XXXXXXXXX         BOS/ADL                   2                           no      1/10/2018 1/11/2018          1/12/2018      1/22/2018 3/14
34   XXXXXXXXX         adl                       2                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/14
35   XXXXXXXXX         ADL                       2                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/14
36   XXXXXXXXX         ADL                       2                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/12
37   XXXXXXXXX         ADL                       2                           no      1/10/2018 1/17/2018          1/17/2018      1/25/2018 3/11
38   XXXXXXXXX         ADL                       3                           no      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/12
39   XXXXXXXXX         adl                       1                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/12
40   XXXXXXXXX         adl                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/12
41   XXXXXXXXX         adl                       2                           no      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/14
42   XXXXXXXXX         adl                       4                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/12
43   XXXXXXXXX         ADL                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/12
44   XXXXXXXXX         ADL                       4                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/12
45   XXXXXXXXX         ADL                       2                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/12
46   XXXXXXXXX         LAD/LOS                   5                           No      1/10/2018 1/11/2018          1/12/2018      1/22/2018 1/31, 3/11
47   XXXXXXXXX         ADL                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
48   XXXXXXXXX         ADL                       1                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
49   XXXXXXXXX         ADL                       1                           No            n/a       n/a          1/16/2018      1/24/2018 3/9
50   XXXXXXXXX         ADL                       2                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
51   XXXXXXXXX         MIA/ADL                   1                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
52   XXXXXXXXX         ADL                       1                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
53   XXXXXXXXX         ADL                       1                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
54   XXXXXXXXX         LAD                       3                           no      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/9
55   XXXXXXXXX         ADL                       1                           no      1/10/2018 2/7/2018             2/7/2018     2/14/2018 3/9
56   XXXXXXXXX         ADL                       1                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
57   XXXXXXXXX         LAD                       1                           no      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
58   XXXXXXXXX         ADL                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/9
59   XXXXXXXXX         LAD                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/8
60   XXXXXXXXX         ADL                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/24/2018 3/23
61   XXXXXXXXX         ADL                       1                           No      1/10/2018 1/16/2018          1/16/2018      1/25/2018 3/8
62                     Total                                 130
63   Note: Where a cell is marked with n/a, this signifies that a record of the date of the action was not kept.
                 Case 5:16-cv-00620-JGB-KK         Document 200-1 Filed 07/20/18 Page 21 of 22 Page ID
                                      Production #3 April 2018: Exhibit to Declaration of Jean King, July 20, 2018
                                                                      #:3932

             A                   B                          C                         D               E            F   G              H                     I


                                        # of Bond Hearing DARS  or                                       Sent out to Offsite  Returned from 
                       Location of ROP  Bond Hearing Transcripts                   ROPs       ROPs       Contractor for       Offsite 
1 Alien Number         Contents         Hearing Transcripts           Tapes?       Requested Received Duplication             Contractor       Uploaded to EOIR's Server 
 2   XXXXXXXXX         PHO/FRC/ADL                                  3 Y (no bonds)  1/10/2018 1/11/2018           1/12/2018         1/22/2018 1/19, 1/22, 3/29, 5/2
 3   XXXXXXXXX         ADL/FRC                                      4 Y (no bonds)  1/10/2018 1/16/2018           1/16/2018         1/24/2018 3/29
 4   XXXXXXXXX         ADL                                          2N              1/10/2018 1/16/2018           1/16/2018         1/24/2018 4/15, 4/19, 4/24
 5   XXXXXXXXX         ADL                                          4 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 4/15, 4/19, 4/24
 6   XXXXXXXXX         FRC/ADL                                      1 Y (no bonds)  1/10/2018 1/16/2018           1/16/2018         1/24/2018 3/29
 7   XXXXXXXXX         ADL                                          1 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 4/16, 4/19, 4/24
 8   XXXXXXXXX         ADL                                          6 No            1/10/2018 1/23/2018           1/23/2018         1/30/2018 4/19, 4/24, 5/22
 9   XXXXXXXXX         LAD                                          3 No            1/10/2018 1/23/2018           1/23/2018         1/30/2018 4/16, 4/19, 4/26
10   XXXXXXXXX         LAD                                          3 NO                  n/a        n/a          1/17/2018         1/25/2018 4/17
11   XXXXXXXXX         LAD                                          6 No            1/10/2018 1/23/2018           1/24/2018         1/31/2018 3/30
12   XXXXXXXXX         ADL                                          6 No                  n/a        n/a                                       4/10
13   XXXXXXXXX         ADL                                          1 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 3/30
14   XXXXXXXXX         ADL                                          3 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 1/24, 4/9, 4/20
15   XXXXXXXXX         LOS/FRC                                      1 Y (no bonds)  1/10/2018 1/16/2018           1/16/2018         1/24/2018 1/24, 4/9
16   XXXXXXXXX         LAD                                          1 no            1/10/2018 1/23/2018           1/24/2018           2/1/2018 3/28
17   XXXXXXXXX         ADL                                          5 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 4/15
18   XXXXXXXXX         ADL                                          2 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 4/19, 4/24
19   XXXXXXXXX         ADL                                          2 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 4/18
20   XXXXXXXXX         LOS                                          1 No            1/10/2018 1/11/2018           1/12/2018         1/22/2018 4/18, 4/24
21   XXXXXXXXX         LAD                                          3 NO            1/10/2018 1/23/2018           1/23/2018         1/30/2018 1/25, 4/9, 4/20
22   XXXXXXXXX         ADL                                          2 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 4/18
23   XXXXXXXXX         LAD/LOS                                      4 No            1/10/2018 1/23/2018           1/23/2018         1/30/2018 1/25, 4/19, 4/26
24   XXXXXXXXX         ADL                                          3 No            1/10/2018 1/11/2018           1/11/2018         1/18/2018 1/16, 4/18, 
25   XXXXXXXXX         LAD                                          5 No                  n/a        n/a          1/17/2016         1/25/2018 4/9, 4/17, 4/20
26   XXXXXXXXX         ADL                                          9 No            1/10/2018 1/11/2018           1/12/2018         1/22/2018 1/22, 4/18
27   XXXXXXXXX         ADL/LOS                                     10 No            1/10/2018 1/23/2018           1/23/2018         1/30/2018 1/25, 4/11
28   XXXXXXXXX         LAD/FRC                                      2 No            1/10/2018 1/23/2018           1/24/2018         1/31/2018 4/18
29   XXXXXXXXX         LAD                                          5 No            1/10/2018 1/23/2018           1/24/2018         1/31/2018 1/25, 4/19, 4/24
30   XXXXXXXXX         ADL                                          3 No            1/10/2018 1/23/2018           1/24/2018           2/1/2018 4/19
31   XXXXXXXXX         ADL                                          1 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 4/18
32   XXXXXXXXX         ADL                                          2 No            1/10/2018 1/11/2018           1/12/2018         1/22/2018 1/19, 4/19, 4/24
33   XXXXXXXXX         ADL                                          1 No            1/10/2018 1/23/2018           1/24/2018         1/31/2018 3/28
34   XXXXXXXXX         ADL                                          2 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 4/18
35   XXXXXXXXX         LOS                                          3 No            1/10/2018 1/11/2018           1/12/2018         1/22/2018 1/19, 4/19, 4/24
36   XXXXXXXXX         LAD                                         10 No            1/10/2018 1/23/2018           1/24/2018           2/1/2018 1/30, 4/18, 4/26, 5/22
37   XXXXXXXXX         LAD                                          2 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 1/25, 4/19, 4/25
38   XXXXXXXXX         LAD/FRC/LOS                                  4 No            1/10/2018 1/11/2018           1/12/2018         1/22/2018 1/22, 5/22
39   XXXXXXXXX         LOS                                          2 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 1/24, 4/19, 4/24
40   XXXXXXXXX         LAD                                          7 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 1/24, 4/18, 4/26
41   XXXXXXXXX         LAD/ADL                                      6 No            1/10/2018 1/23/2018           1/24/2018           2/1/2018 4/19, 4/25
42   XXXXXXXXX         ADL                                          4 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 1/24, 4/9, 5/22
43   XXXXXXXXX         ADL                                          9 No            1/10/2018 1/23/2018           1/24/2018           2/1/2018 1/29, 4/12, 4/20, 4/24
44   XXXXXXXXX         LAD                                          3 No            1/10/2018 1/11/2018           1/11/2018         1/18/2018 1/16, 1/17, 4/26
45   XXXXXXXXX         ADL                                          2 No             01/10/18 1/16/2018           1/16/2018         1/24/2018 1/25, 4/12, 4/20
46   XXXXXXXXX         LAD                                          1 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 4/15, 4/25
47   XXXXXXXXX         ADL                                          4 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 4/19, 4/24
48   XXXXXXXXX         ADL                                          2 No                  n/a        n/a          1/17/2018         1/25/2018 1/24, 4/11, 4/12, 5/22
49   XXXXXXXXX         ADL                                          4 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 4/16, 4/24
50   XXXXXXXXX         LAD                                          4 No            1/10/2018 1/11/2018           1/11/2018         1/18/2018 1/16, 4/19, 4/25
51   XXXXXXXXX         ADL                                          1 No            1/10/2018 1/16/2018           1/16/2018         1/25/2018 4/19, 4/24
52   XXXXXXXXX         ADL                                          1 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 4/19, 4/24
53   XXXXXXXXX         LAD                                          2 No                  n/a        n/a          1/17/2018         1/25/2017 1/25, 4/9, 4/21, 5/22
54   XXXXXXXXX         ADL                                          4 No            1/10/2018 1/23/2018           1/24/2018           2/1/2018 4/19, 4/24
55   XXXXXXXXX         ADL                                          1 No            1/10/2018 1/16/2018           1/16/2018         1/24/2018 1/23, 4/9, 4/20
56   XXXXXXXXX         LAD                                          1 No            1/10/2018 1/11/2018           1/12/2018         1/22/2018 1/19, 4/9, 4/26
57                     Total                                     184
58   Note: Where a cell is marked with n/a, this signifies that a record of the date of the action was not kept.
                 Case 5:16-cv-00620-JGB-KK        Document 200-1 Filed 07/20/18 Page 22 of 22 Page ID
                                      Production #4 May 2018: Exhibit to Declaration of Jean King, July 20, 2018
                                                                    #:3933

             A                  B                     C                      D                     E               F             G              H                     I

                                    # of Bond Hearing                                                                   Sent out to 
                                    DARS  or Bond                                                                       Offsite          Returned from 
                       Location of  Hearing Transcripts                                                                 Contractor for  Offsite 
1 Alien Number         ROP Contents Hearing Transcripts            Tapes?                ROPs Requested ROPs Received Duplication        Contractor      Uploaded to EOIR's Server 
 2   XXXXXXXXX         LOS/FRC                5                    Y (but no bonds)             1/10/2018    1/11/2018       1/11/2018        1/18/2018 1/17, 5/4, 5/8, 5/15
 3   XXXXXXXXX         ADL/FRC                1                    Y (but no bonds)              01/10/18    1/16/2018       1/16/2018        1/24/2018 3/28, 4/26
 4   XXXXXXXXX         LAD                    8                    No                           1/10/2018    1/23/2018       1/23/2018        1/31/2018 4/15, 5/2, 5/18
 5   XXXXXXXXX         LOS                    1                    No                           1/10/2018    1/16/2018       1/16/2018        1/23/2018 4/15, 5/2, 5/11
 6   XXXXXXXXX         LAD/LOS                3                    Y (but no bonds)             1/10/2018    1/11/2018       1/11/2018        1/18/2018 1/17, 1/24, 5/2
 7   XXXXXXXXX         ADL                    7                    No                           1/10/2018    1/23/2018       1/24/2018        1/31/2018 4/15, 5/11
 8   XXXXXXXXX         LOS/FRC                6                    Y                            1/10/2018    1/16/2018       1/16/2018        1/24/2018 4/16,  5/11, 5/17
 9   XXXXXXXXX         ADL/FRC/LOS            6                    No                           1/10/2018    1/16/2018       1/16/2018        1/24/2018 4/16, 5/11, 5/18
10   XXXXXXXXX         LAD                    2                    No                           1/10/2018    1/16/2018       1/16/2018        1/24/2018 4/16, 5/2
11   XXXXXXXXX         LAD                    2                    No                           1/10/2018    1/23/2018       1/24/2018        1/31/2018 5/2, 5/15
12   XXXXXXXXX         LAD                    1                    No                           1/10/2018    1/17/2018       1/17/2017        1/25/2018 5/2, 5/15
13   XXXXXXXXX         LOS/FRC                1                    Y (but no bonds)             1/10/2018    1/11/2018       1/12/2018        1/22/2018 4/16, 5/2, 5/18
14   XXXXXXXXX         LAD                    5                    No                           3/29/2018           n/a      4/24/2018          5/1/2018 4/16, 5/3, 5/15
15   XXXXXXXXX         LOS                    2                    No                           1/10/2018    1/11/2018       1/12/2018        1/22/2018 4/16, 5/11
16   XXXXXXXXX         LAD/FRC                3                    Y (but no bonds)             1/10/2018    1/23/2024       1/24/2018        1/31/2018 1/16, 1/17, 5/2, 5/11, 5/17
17   XXXXXXXXX         LAD                    6                    No                                 n/a           n/a      4/24/2018          5/1/2018 5/3, 5/15
18   XXXXXXXXX         ADL                    0                    No                           1/10/2018    1/16/2018       1/16/2018        1/24/2018 5/9, 5/2
19   XXXXXXXXX         ADL/FRC                9                    Y (but no bonds)             1/10/2018    1/16/2018       1/16/2018        1/24/2018 4/15, 4/26
20   XXXXXXXXX         ADL/LAD/FRC            4                    Y (but no bonds)             1/10/2018    1/16/2018       1/16/2018        1/25/2018 5/2, 5/11
21   XXXXXXXXX         LAD/LOS                1                    No                                 n/a           n/a              n/a             n/a 5/4, 5/17
22   XXXXXXXXX         ADL                    2                    No                           1/10/2018    1/16/2018       1/16/2018        1/24/2018 1/24, 5/2, 5/15
23   XXXXXXXXX         ADL                    5                    No                           1/10/2018    1/23/2018       1/24/2018        1/30/2018 5/2, 5/11
24   XXXXXXXXX         ADL/FRC/LAD           17                    Y (but no bonds)                   n/a           n/a      4/24/2018               n/a 5/3
25   XXXXXXXXX         ADL                    4                    No                           1/10/2018    1/23/2018       1/24/2018          2/1/2018 3/15
26   XXXXXXXXX         LOS                    6                    No                                 n/a           n/a      4/24/2018               n/a 5/3
27   XXXXXXXXX         ADL                    4                    No                                 n/a           n/a              n/a             n/a 4/25, 5/17, 5/18
28   XXXXXXXXX         NYC                    1                    No                                 n/a           n/a              n/a             n/a 5/4, 5/15
29   XXXXXXXXX         ADL                    5                    No                                 n/a           n/a      4/24/2018               n/a 5/3, 5/17
30   XXXXXXXXX         NYC                    2                    No                                 n/a           n/a              n/a             n/a 5/4
31   XXXXXXXXX         NYC                    3                    No                                 n/a           n/a              n/a             n/a 5/4, 5/15
32   XXXXXXXXX         NYC                    2                    No                                 n/a           n/a              n/a             n/a 5/4, 5/15
33   XXXXXXXXX         ADL                    5                    No                                 n/a           n/a      4/24/2018               n/a 5/3
34   XXXXXXXXX         HAR/FRC                1                    No                           1/10/2018    1/16/2018       1/16/2018        1/24/2018 1/18, 1/24, 5/9
35   XXXXXXXXX         ADL                    2                    No                           1/10/2018     2/5/2018         2/7/2018              n/a 5/4, 5/22
36   XXXXXXXXX         LAD                    1                    No                           1/10/2018    1/16/2018       1/16/2018        1/24/2018 5/4
37   XXXXXXXXX         ADL                    2                    No                           1/10/2018    1/16/2018       1/16/2018        1/25/2018 5/4, 5/10
38   XXXXXXXXX         LAD                    4                    No                           1/10/2018     2/5/2018         2/7/2018       2/14/2018 5/4, 5/10
39   XXXXXXXXX         NYC                    1                    No                                 n/a           n/a              n/a             n/a 5/4, 5/15
40   XXXXXXXXX         LAD                    3                    No                           1/10/2018    1/11/2018       1/12/2018        1/22/2018 5/4, 1/23
41   XXXXXXXXX         ADL                    4                    No                                 n/a           n/a      4/24/2018               n/a 5/3
42   XXXXXXXXX         NYC                    0                    No                                 n/a           n/a              n/a             n/a 5/15
43   XXXXXXXXX         Adl                    3                    No                                 n/a           n/a              n/a             n/a 5/4, 5/15, 5/18
44   XXXXXXXXX         ADL                    2                    No                           1/10/2018    1/23/2018       1/24/2018          2/1/2018 5/4, 5/10
45   XXXXXXXXX         ORL                    2                    No                           1/10/2018    1/16/2018       1/16/2018        1/24/2018 5/4, 5/22
46   XXXXXXXXX         NYC                    1                    No                                 n/a           n/a              n/a             n/a 5/4, 5/15
47   XXXXXXXXX         LAD                    4                    No                                 n/a           n/a      4/24/2018               n/a 5/3
48   XXXXXXXXX         LAD                    3                    No                           1/10/2018    1/16/2018       1/16/2018        1/25/2018 5/4, 5/11, 5/15
49   XXXXXXXXX         LAD                    1                    No                                 n/a           n/a              n/a             n/a 5/4, 5/11
50   XXXXXXXXX         ADL                    3                    No                           1/10/2018    1/11/2018       1/12/2018        1/22/2018 1/23, 5/4, 5/18
51   XXXXXXXXX         LAD                    4                    No                           1/10/2018    1/16/2018       1/16/2018        1/25/2018 5/4, 5/11, 5/15
52                     Total                         170
53                       
54   Note: Where a cell is marked with n/a, this signifies that a record of the date of the action was not kept.
